Case 6:18-cv-00106-ACC-DCI Document 12 Filed 04/10/18 Page 1 of 1 PageID 35




                           UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

JESSICA GRAULAU,

                       Plaintiff,

v.                                                         Case No: 6:18-cv-106-Orl-22DCI

CREDIT ONE BANK, N.A.,

                       Defendant.


                                            ORDER

       This cause comes before the Court on the Joint Stipulation Dismissing and Referring Case

to Arbitration (Doc. No. 11).

       Based on the foregoing, it is ordered as follows:

       1.      This case is REFERRED to arbitration.

       2.      This case is hereby DISMISSED.

       3.      The Clerk is directed to CLOSE the file.

       DONE and ORDERED in Chambers, in Orlando, Florida on April 10, 2018.




Copies furnished to:

Counsel of Record
